      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 1 of 10



     MICHAEL BAILEY
 1   United States Attorney
     District of Arizona
 2
     KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
 3   MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
     PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
 4   ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
     Assistant U.S. Attorneys
 5   40 N. Central Avenue, Suite 1800
     Phoenix, Arizona 85004-4408
 6   Telephone (602) 514-7500
 7   JOHN J. KUCERA (Cal. Bar No. 274184, john.kucera@usdoj.gov)
     Special Assistant U.S. Attorney
 8   312 N. Spring Street, Suite 1200
     Los Angeles, CA 90012
 9   Telephone (213) 894-3391
10   BRIAN BENCZKOWSKI
     Assistant Attorney General
11   Criminal Division, U.S. Department of Justice
12   REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
     Senior Trial Attorney, U.S. Department of Justice
13   Child Exploitation and Obscenity Section
     950 Pennsylvania Ave N.W., Room 2116
14   Washington, D.C. 20530
     Telephone (202) 616-2807
15   Attorneys for Plaintiff
16
                         IN THE UNITED STATES DISTRICT COURT
17
                              FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                              No. CR-18-422-PHX-SMB
20                        Plaintiff,
                                                     MOTION TO ADMIT EVIDENCE OF
21            v.                                        MURDERS IMPLICATING
                                                              BACKPAGE
22
     Michael Lacey, et al.,
23
                          Defendants.
24
25                                SUMMARY OF ARGUMENT
26         Defendants’ knowledge that prostitution proliferated on Backpage.com is a central
27   issue in this prosecution.   At trial, the government will demonstrate that Backpage
28   facilitated prostitution through an array of business practices. These practice included,


                                               -1-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 2 of 10




 1   among others, a financial relationship with The Erotic Review, aggregating content from
 2   competing prostitution websites, and moderation practices that sanitized prostitution ads.
 3          The Court has held that, as alleged in the Superseding Indictment, the First
 4   Amendment is not a viable defense for Defendants. (Doc. 793.) Accordingly, Defendants’
 5   primary defense at trial likely will focus on whether they possessed specific intent to violate
 6   the Travel Act. To support their defense, Defendants likely will argue that they did not
 7   know that Backpage.com was used almost exclusively for prostitution, let alone intend to
 8   promote or facilitate that unlawful activity. The evidence, however, belies this argument.
 9          As discussed below, Defendants knew that a number of prostitutes who advertised
10   on Backpage were murdered. Defendants knew about these murders through a variety of
11   mediums, including their own internal tracking of news stories, search warrants and
12   subpoenas from law enforcement, high-profile news programs and newspaper articles, and
13   civil lawsuits. The publicity generated by these violent crimes led Defendants to strategize
14   about the company’s response and attempt to minimize the negative impact of these stories.
15   This evidence is highly probative in supporting the government’s theory that Defendants
16   knew about the website’s true nature, and helps demonstrate how the company’s business
17   practices facilitated the criminal activities of the prostitutes and pimps who used the
18   website. The evidence shows that despite receiving repeated news stories and other notice
19   of these violent crimes, Defendants persisted in their efforts to expand Backpage’s volume
20   of prostitution advertising and related revenue growth. The probative value of this
21   evidence is not substantially outweighed by the danger of unfair prejudice. The evidence
22   should be admitted.
23                   MEMORANDUM OF POINTS AND AUTHORITIES
24   I.     Defendants’ Knowledge About Relevant Murders
25          Defendants knew about the violent crimes that occurred to women advertised on its
26   website. The best evidence of their knowledge is that they maintained their own internal
27   spreadsheet that catalogued news articles that referenced Backpage. In 2014, Defendant
28   Scott Spear directed internal Backpage staff to track stories that implicated the company.


                                                  -2-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 3 of 10




 1   The result was a spreadsheet that categorized the stories as negative, neutral, or positive.
 2   (Spreadsheet attached as Exhibit B.) Various public relations firms retained by Backpage
 3   utilized this list. Backpage general counsel Elizabeth McDougall and others attempted to
 4   identify stories that cast Backpage in a positive light. This list contained numerous articles
 5   of prostitution stings, arrests of pimps for child sex trafficking, and murders implicating
 6   Backpage. Some of the more high profile cases (many referenced in the Superseding
 7   Indictment) are detailed below. Beyond cataloguing these stories internally, many of the
 8   Defendants were made aware of these violent crimes in other ways as well, including press
 9   accounts, law enforcement inquiries, and subpoenas—both for documents and to testify at
10   a murder trial.
11             A.          The Detroit Backpage Murders
12             In December 2011, four woman were murdered after being advertised on Backpage
13   for prostitution.         (Murdered Women in Detroit Linked to Backpage.com, Cops Say,
14   published Dec. 27, 2011, attached as Ex. C.) Defendants knew about these murders as
15   evidenced through their work with public relations firms, receipt of Google Alerts, internal
16   email exchanges, and a brand analysis report prepared by an outside firm.
17                    i.        Defendants’ Coordination with Public Relations Firms
18             To handle the fallout from the negative publicity that resulted from this quadruple
19   murder, Defendants Lacey and Larkin engaged the services of Sitrick—a public relations
20   firm. 1       Lacey exchanged emails with Sitrick to formulate a response that included
21   deflecting the blame to other prostitution websites. This is evidenced by an email to Lacey
22   and others, where an attorney (Ed McNally) stated “were [sic] better off just muddying the
23   waters out there today with the news of the 22 websites.” (Email dated December 29, 2011,
24   from McNally to Lacey and others, attached as Ex. E.)
25             At trial, the government believes the evidence will show that the content on these
26             1
              In response to a grand jury subpoena seeking email exchanges between Lacey (and
27   other Backpage owners) and the public relation companies, Backpage took the position
     that these communications were protected by the attorney-client privilege. Senior Judge
28   David C. Campbell found that many of these emails were not afforded these protections
     and ordered the emails disclosed. (See April 2, 2018 Order, attached as Exhibit D.)

                                                     -3-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 4 of 10




 1   22 websites often originated from Backpage. This fact was also well known to Defendants
 2   Lacey, Larkin and Spear. Further, The Erotic Review was also one of these 22 websites,
 3   which had a longstanding financial and business relationship with Backpage. The Erotic
 4   Review was a website where “Johns” provided reviews of the services of prostitutes,
 5   including underage trafficking victims. (See Doc. 446 at 11-12; Doc. 446-1 at 40-76.)
 6   Backpage made monthly payments to The Erotic Review in accordance with invoices that
 7   referred to the company as “Elms Web Services, Inc.” (Ex. F). When the owner of The
 8   Erotic Review (David Elms) was arrested in a prostitution sting, Larkin emailed Spear and
 9   Ferrer alerting them to Elms’s arrest. (Ex. G.) Simply put, the effort to deflect blame on
10   other websites including The Erotic Review is, at a minimum, highly misleading, but
11   nevertheless, relevant to knowledge of prostitution occurring on Backpage.com.
12          In addition to the email exchanges between Lacey and Larkin shortly after the
13   murders, Lacey and Larkin’s apparent personal attorney Don Bennett Moon (“Moon”) and
14   McDougall had email exchanges with another public relations firm. In these emails, they
15   discussed contacting the Detroit Free Press in an effort to discourage the newspaper from
16   referring to the quadruple murders as the “Backpage murders.” (Email dated June 9, 2012
17   attached as Ex. H.) They apparently decided not to approach the newspaper with this
18   request.
19               ii.       Google Alerts
20          At trial, the government will present evidence that many of the Defendants set up
21   Google Alerts to keep informed of any news stories about Backpage. 2 Defendants received
22   an average of three to four articles per day detailing arrests of pimps and prostitutes, rescues
23   of child sex trafficking victims, murders, and many other news stories about Backpage.
24   Several alerts featured articles that chronicled the arrest, trial, and appeal in the Detroit
25   Backpage murder case. (See Exs. I and J; Google alerts for Spear dated January 2, 2012
26   and Larkin dated May 5, 2012.)
27          2
              Google Alerts is a service that sends emails to the user when it finds new results—
28   such as web pages, newspaper articles, blogs, or scientific research—that match the user’s
     search term(s).

                                                  -4-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 5 of 10




 1               iii.         Internal Emails Between Lacey and Larkin
 2          Lacey and Larkin, as Backpage’s majority owners, had the most to lose financially
 3   from bad publicity. They would often ruminate about various strategies to counter negative
 4   publicity. In one such exchange, Larkin asks Lacey “why can’t we admit these are
 5   prostitutes” and concludes by wondering, “how long before cops catch someone in
 6   Detroit.” (Email attached as Ex. K.)
 7               iv.          Brand Analysis Report
 8          In 2011, Defendants hired public relations firm Goddard Global to help devise a
 9   public relations strategy for Backpage. Goddard recommended that Backpage retain
10   Greenberg Quinlan Rosner (“GQR”), a strategic advice consulting firm, to conduct a
11   “brand analysis” of Backpage. Larkin agreed and entered into a contract with GQR.
12   (Contract attached as Ex. L.)         In June 2012, Greenberg issued a report entitled
13   “Backpage.com Media and Digital Brand Analysis.” (Report attached as Ex. M.) In the
14   report, GQR finds that media coverage about Backpage breaks down into five major
15   categories. (Id. at 2.) One of those categories is “Police Blotter,” which is described as
16   “stories about someone getting busted for using Backpage.com,” including news stories
17   about police stings, prostitution arrests, and murders. (Id.) The report further notes that
18   “the very end of 2011 saw a huge news spike related to the Detroit murders. This spike
19   related to the Detroit murders also appears in Twitter, but is only nominally apparent in the
20   blogs and other social media.” (Id. at 7-8.) In short, the brand analysis report further
21   demonstrates Defendants’ knowledge about the Detroit Backpage murders.
22          B.          Murder of Victim 6, C.M.
23          On June 22, 2012, a “john” stabbed Victim 6, C.M., to death at an apartment
24   complex in Scottsdale, Arizona. This murder is alleged in the Superseding Indictment.
25   (Doc. 230 ¶ 165; see also Ex. N.) On the same day, law enforcement contacted Backpage’s
26   CEO Carl Ferrer, and requested that Backpage “freeze” C.M’s ads. (Email dated June 22,
27   2012, attached as Ex. O; Victim 6’s Backpage ads are attached as Ex. P.) On July 4, 2012,
28   the Scottsdale Police Department served a search warrant on Backpage seeking all the ads


                                                   -5-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 6 of 10




 1   associated with C.M. (Search Warrant attached as Ex. Q.)
 2           C.    Strangulation and Murder of A.H.
 3           On October 14, 2014, A.H. was murdered at a Motel 6 in Hammond, Indiana. (Ex.
 4   R.) The murderer, Darren Vann, had arranged to meet A.H. through an advertisement
 5   posted on Backpage.com. (Id.) Vann’s case received extensive national coverage because
 6   Vann admitted to killing six other woman. Backpage catalogued this murder on an internal
 7   spreadsheet it maintained to track press stories. (Ex. B at 92, 134, 139, 141, 150, 160, 167,
 8   171, 173, 177, 179.) In addition, Backpage’s general counsel—McDougall—was asked to
 9   comment on Backpage’s connection to the murder, but she declined. (See Ex. S.)
10           D.    Murder of Victim 15, J.W.
11           On June 10, 2015, Victim 15, J.W., was murdered after she fled from her assailant’s
12   vehicle and was struck by oncoming traffic. (See Ex. T; Doc. 230 at ¶ 174.) J.W. was
13   working as prostitute and her assailant was her pimp. She was posted on Backpage shortly
14   before her murder.     (See Ex. U.)    In addition to publicity surrounding this murder
15   Defendants were on notice of this murder because the investigating Detective subpoenaed
16   J.W.’s ads and a Backpage custodian was subpoenaed to appear at trial and authenticate
17   the ads. The New Orleans Deputy District attorney made efforts to locate a witness at
18   Backpage that could authenticate the Backpage postings at trial. First, she contacted
19   attorney Steve Ross from Akin Gump. 3 (Ex. V.) Ultimately, she filed a motion to secure
20   the attendance of an out-of-state witness from Backpage and advised the company that a
21   witness was required. She also exchanged emails with a Backpage employee regarding the
22   need for a records custodian to authenticate the victim’s postings on Backpage. (Ex. W.)
23   A Backpage employee provided a declaration certifying the authenticity of the postings.
24   (Id.)
25           E.    Murder of Victim 14
26           On June 20, 2015, Victim 14’s body was found inside a car in northwest Dallas
27
             3
28           Akin Gump represented Defendants Lacey, Larkin and Ferrer in litigation related
     to the U.S. Senate investigation of Backpage.

                                                 -6-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 7 of 10




 1   about ten miles from Backpage’s corporate headquarters. (See Doc. 230 ¶ 173.) The Dallas
 2   Morning News publicized the murder. (Ex. X.) At trial, the investigating detective will
 3   testify about the crime’s connection to Backpage. The victim’s father is expected to testify
 4   that he contacted Backpage by email following the murder and requested that they remove
 5   his daughter’s postings from the website. (Doc. 230 ¶ 173; Ex. Y.) Despite his efforts,
 6   Backpage did not immediately comply.
 7          F.     Murder of Victim 16, C.W.
 8          On August 17, 2015, the body of Victim 16, C.W., was found in an alley on Detroit’s
 9   west side, four years after the Detroit quadruple murder. (Ex. Z; Doc. 230, ¶ 175.) It was
10   later determined that the assailant was Jerome Moore and he met Victim 16 on
11   Backpage.com. (Id.) Investigating detectives subpoenaed Backpage for the victim’s ads
12   and a custodian testified at trial. (See Ex. AA.)
13          G.     Murder of D.R.
14          On Christmas Eve 2016, in a Chicago suburb, the body of 16-year-old D.R. was
15   found in a garage. She was beaten to death. (Slain Teen’s Mom Seeks Answers About
16   Alleged Sex Trafficking, attached as Ex. BB.) D.R. was advertised on Backpage. (Ex. CC.)
17   A highly-publicized investigation and subsequent prosecution determined that she was
18   trafficked by a pimp on Backpage. D.R.’s family sued Backpage. An article detailing the
19   lawsuit asked Backpage for a comment and none was forthcoming. (See Ex. DD.) On
20   May 17, 2017, the victim’s mother, Y.A., sued Backpage in state court and held a press
21   conference. (See Complaint, attached as Ex. EE.)
22           On July 11, 2017, the Washington Post published a front-page article detailing
23   newly-discovered documents concerning Backpage and including statements from Y.A.
24   (Article attached as Ex. FF.) Y.A. discussed the facts of her lawsuit against Backpage.
25   The article noted that Y.A.’s lawsuit was just one of eight civil cases filed by sex trafficking
26   victims filed against Backpage in 2017. (Id.) On September 19, 2017, Y.A. testified before
27   the Senate Subcommittee overseeing the investigation of Backpage. McDougall was asked
28   for comment but declined.


                                                  -7-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 8 of 10




 1   II.    Federal Rules of Evidence and Applicable Law Support Admission
 2          The Federal Rules of Evidence and applicable case law support the admission of
 3   this evidence at trial. Clearly, the evidence discussed above is relevant, so the question
 4   before the Court will be, under Rule 403, is the evidence unfairly prejudicial. In making
 5   evidentiary determinations, a trial court is “accorded a wide discretion in determining the
 6   admissibility of evidence under the Federal Rules.” United States v. Abel, 469 U.S. 45, 54
 7   (1984). Under Rule 403, however, “the balance in close cases is struck in favor of
 8   admission” of the evidence. Id.
 9          Unfair prejudice is “prejudice of the sort which clouds impartial scrutiny and
10   reasoned evaluation of the facts, which inhibits neutral application of principles of law to
11   the facts as found.” United States v. Starnes, 583 F.3d 196, 215 (3d Cir. 2009). “[U]nfair
12   prejudice does not simply mean damage to the opponent’s cause. If it did, most relevant
13   evidence would be deemed [unfairly] prejudicial.” Id.
14          Consequently, courts have admitted extremely prejudicial evidence when its
15   probative value is significant. See United States v. LeMay, 260 F.3d 1018, 1027-29 (9th
16   Cir. 2001) (evidence that the defendant had previously molested other young relatives
17   under similar circumstances properly admitted under Rule 403); United States v. Cardena,
18   842 F.3d 959, 992 (7th Cir. 2016) (offer to cooperate); United States v. Moore, 641 F.3d
19   812, 827 (7th Cir. 2011) (dogfighting evidence to show control of premises); United States
20   v. Green, 617 F.3d 233, 251-52 (3d Cir. 2010) (attempted murder properly admitted in drug
21   trial to prove motive and bias); United States v. Gartmon, 146 F.3d 1015, 1021 (D.C. Cir.
22   1998) (evidence that the defendant inserted gun into girlfriend’s vagina properly admitted
23   under Rule 403 to prove the defendant’s intent and role in scheme).
24          While Rule 403 recognizes that relevant evidence may, on occasion, impede the
25   search for truth, it requires a careful assessment of probative value and its countervailing
26   concerns—and tips the scales decidedly in favor of admitting relevant evidence. The Rule
27   also provides the judge with discretion to remedy potential prejudice by instruction. The
28   Rule embodies a respect for jury resolution of fact disputes that is grounded in long history


                                                 -8-
      Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 9 of 10




 1   and experience. Here, in light of the defense that Defendants had no knowledge of the true
 2   nature of the postings, evidence of these highly-publicized murders should be admitted,
 3   leaving to the jury the task of assessing the relative weight of evidence as it resolves fact
 4   issues about Defendants’ knowledge and makes a fully-informed decision about guilt.
 5   III.   Conclusion
 6          Evidence of the murders detailed above is relevant and probative with respect to
 7   the question of Defendants’ guilt and should be admitted at trial.
 8          Respectfully submitted this 17th day of April, 2020.
 9                                             MICHAEL BAILEY
                                               United States Attorney
10                                             District of Arizona
11                                             s/ Kevin M. Rapp
12                                             KEVIN M. RAPP
                                               MARGARET PERLMETER
13                                             PETER S. KOZINETS
                                               ANDREW C. STONE
14                                             Assistant U.S. Attorneys
15                                             JOHN J. KUCERA
                                               Special Assistant U.S. Attorney
16
17                                             BRIAN BENCZKOWSKI
                                               Assistant Attorney General
18                                             U.S. Department of Justice
                                               Criminal Division, U.S. Department of Justice
19
                                               REGINALD E. JONES
20                                             Senior Trial Attorney
                                               U.S. Department of Justice, Criminal Division
21                                             Child Exploitation and Obscenity Section

22
23
24
25
26
27
28


                                                 -9-
     Case 2:18-cr-00422-DJH Document 920 Filed 04/17/20 Page 10 of 10



                                CERTIFICATE OF SERVICE
 1
 2         I hereby certify that on April 17, 2020, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
     s/Zachry Stoebe
 6   U.S. Attorney’s Office
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                             - 10 -
